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                                                                                              E-FILED
                                                                 Wednesday, 22 July, 2020 08:54:53 AM
                                                                        Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

CENTRAL LABORERS’ PENSION FUND,                        )
CENTRAL LABORERS’ WELFARE FUND,                        )
CENTRAL LABORERS’ ANNUITY FUND,                        )
ILLINOIS LABORERS’ & CONTRACTORS                       )
TRAINING PROGRAM, MIDWEST REGION                       )
FOUNDATION FOR FAIR CONTRACTING,                       )
ILLINOIS VALLEY LABOR MANAGEMENT,                      )
LABORERS-EMPLOYERS COOPERATION                         )
& EDUCATION TRUST, LABORERS’ LOCAL 165,                )
LABORERS’ LOCAL 165 BUILDING FUND,                     )
NORTH CENTRAL ILLINOIS LABORERS HEALTH                 )
& WELFARE FUND, LABORERS’ OF ILLINOIS                  )         No.
VACATION FUND, LABORERS LOCAL 393,                     )
ILLINOIS LABORERS’ LEGISLATIVE COMMITTEE               )
AND MIDWEST REGION ORGANIZING                          )
COMMITTEE,                                             )
                                                       )
                           Plaintiffs,                 )
                                                       )
      vs.                                              )
                                                       )
DURDEL & SONS LANDSCAPING & TREE                       )
SERVICE, INC.,                                         )
                                                       )
                           Defendant.                  )

                                         COMPLAINT

      NOW COME Plaintiffs, CENTRAL LABORERS’ PENSION FUND et al., by and through

its attorneys, Cavanagh & O’Hara LLP, complaining of the Defendant, DURDEL & SONS

LANDSCAPING & TREE SERVICE, INC., and allege as follows:

                               COUNT I
            DELINQUENT CONTRIBUTIONS/COMPEL PAYROLL AUDIT
      1.     This action is brought and maintained in accordance with the provisions of the

Labor Management Relations Act, as amended, 29 U.S.C. 185(a), and the Employee Retirement
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Income Security Act of 1974 (ERISA), 29 U.S.C. § 1001 et seq., as amended, in particular 29

U.S.C. § 1132(a) (Section 502(a) of ERISA).

       2.      The Plaintiffs, CENTRAL LABORERS’ PENSION FUND et al., are employee

benefit plans administered pursuant to the terms and provisions of the Agreements and

Declarations of Trust creating said Funds and are required to be maintained and administered in

accordance with the provisions of the Labor Management Relations Act of 1947, and the Employee

Retirement Income Security Act of 1974 (as amended), 29 U.S.C. §1001 et seq. The Plaintiff

Central Laborers’ Pension Fund is the collection agent for and authorized to act on behalf of the

other named Plaintiffs, which are either employee benefit funds, labor organizations, and/or funds

established pursuant to collective bargaining agreements between Laborers’ International Union

of North America (“Union”) and certain employer associations whose employees are covered by

the collective bargaining agreements with the Union, to collect employer contributions and other

amounts owed to these Plaintiffs.

       3.      Federal District Courts have exclusive jurisdiction under ERISA over civil actions

like the present action. (See 29 U.S.C. §1132).

       4.      Venue is proper in this action in a federal District Court where the breach took

place, where a defendant resides or may be found, or where the plan is administered. (See

§502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2)).

       5.      Plaintiff Central Laborers’ Pension Fund’s plan is administered in Morgan County,

Illinois at the address of is 201 N. Main Street, Jacksonville, Illinois 62651, which is located within

the venue of the District Court for the Central District of Illinois.

       6.      The Defendant’s address is Peoria, Illinois 61615.
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       7.      The Defendant is an Employer engaged in an industry within the meaning of

ERISA, 29 U.S.C. §§1002 (5), (11), (12) and (14). Defendant employs individuals who are

members of, and represented by Laborers’ International Union of North America.

       8.      Defendant employs individuals who are participants in the employee benefit funds

administered by Plaintiff Central Laborers’ Pension Fund and other named Plaintiff trust funds

pursuant to several Memorandum of Agreements, Participation Agreements, and a Heavy

Highway Agreement to which Defendant is a party or otherwise bound (the “labor agreements”).

       9.      A copy of the Memorandum of Agreements is attached hereto as Exhibit A, and

fully incorporated herein and made a part hereof by this reference.

       10.     A copy of the Participation Agreements is attached hereto as Exhibit B, and fully

incorporated herein and made a part hereof by this reference.

       11.     A copy of the Heavy Highway Agreement is attached hereto as Exhibit C, and fully

incorporated herein and made a part hereof by this reference.

       12.     The labor agreements bind the Defendant to the provisions of the Plaintiffs’

respective trust agreements. The Plaintiff’s Agreements and Declarations of Trust, in pertinent

part, are attached hereto as Exhibits D and E and fully incorporated herein and made a part hereof

by this reference.

       13.     Pursuant to the labor agreements and the trust agreements, the Defendant is required

to report hours worked by its employees and make prompt payment of the contributions and other

amounts required under the labor agreements to Plaintiffs.

       14.     Defendant employed individuals during the time period of January 1, 2009, through

the present who have performed hours of work under the labor agreements for which contributions

are owed to Plaintiffs.
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       15.     Pursuant to the labor agreements and trust agreements, the Plaintiffs have the right

to examine the payroll books and records of the Defendant in order to determine whether the

Defendant is making full and proper payments as required under the labor agreements.

       16.     Pursuant to the labor agreements and trust agreements, Plaintiffs engaged Romolo

&     Associates      to     examine       the     payroll     records      of     the     Defendant.

       17.     Romolo & Associates made numerous attempts to contact the Defendant in order

to examine the payroll records of the Defendant, however the Defendant refused to schedule an

audit with Romolo & Associates.

       18.     That Plaintiffs made demands upon the Defendant to schedule an audit for the

period from January 1, 2015, to the present, but Defendant has refused to provide Plaintiffs or

Romolo & Associates with its payroll and other business records for purposes of an audit.

       19.     Defendant owes Plaintiffs contributions for all unreported and unpaid hours of work

performed by its employees for the time period of January 1, 2015, to present.

       20.     Pursuant to the terms of the labor agreements and trust agreements, Defendant owes

Plaintiffs liquidated damages equal to 10% of the amount of contributions that are not paid timely.

       21.     Defendant breached the provisions of the labor agreements and trust agreements by

refusing to provide Plaintiffs with its payroll and other business records for purposes of an audit.

       22.     Pursuant to the terms of the labor agreements and trust agreements, the Defendant

is liable for reasonable attorneys’ fees, court costs and all other reasonable expenses incurred by

Plaintiffs in the collection of delinquent contributions.

       23.     Pursuant to §1132(g)(2) of ERISA, if judgment is entered in favor of Plaintiffs in

this matter, the Court shall award Plaintiffs certain relief, including interest, liquidated damages or

double interest, and attorneys’ fees. More specifically, §1132(g)(2) of ERISA provides as follows:
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               (g)    Attorney’s fees and costs; awards in actions involving
               delinquent contributions

                                       *              *                *

                       (2)     In any action under this subchapter by a fiduciary for
                       or on behalf of a plan to enforce section 1145 of this title in
                       which a judgment in favor of the plan is awarded, the court
                       shall award the plan –

                               (A)     the unpaid contributions,

                               (B)     interest on the unpaid contributions,

                               (C)     an amount equal to the greater of –

                                       (i)     interest on the unpaid contributions,
                                       or

                                       (ii)   liquidated damages provided for
                                       under the plan in an amount not in excess of
                                       20 percent (or such higher percentage as may
                                       be permitted under Federal or State law) of
                                       the amount determined by the court under
                                       subparagraph (A),

                               (D)     reasonable attorney’s fees and costs of the
                               action, to be paid by the defendant, and

                               (E)    such other legal or equitable relief as the
                               court deems appropriate.

                       For purposes of this paragraph, interest on unpaid
               contributions shall be determined by using the rate provided under
               the plan, or, if none, the rate prescribed under section 6621 of title
               26.

               (See, §1132(g)(2) of ERISA).

       WHEREFORE, Plaintiffs pray as follows:

       A.      That judgment is entered in favor of Plaintiffs, CENTRAL LABORERS’

PENSION FUNDS et al., and against DURDEL & SONS LANDSCAPING & TREE SERVICE,

INC., for all fringe benefit contributions, interest and liquidated damages owed to the Plaintiffs for
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the time period of January 1, 2015, through a future date including without limitation the ending

date of any payroll compliance audit;

       B.      That DURDEL & SONS LANDSCAPING & TREE SERVICE, INC., is ordered

to provide and/or make available to Plaintiffs or its auditor, all payroll and other business records

of DURDEL & SONS LANDSCAPING & TREE SERVICE, INC., for the time period of January

1, 2015, through a future date determined by Plaintiffs or its auditor, in order for Plaintiffs to

determine the fringe benefit contributions and other sums owed by DURDEL & SONS

LANDSCAPING & TREE SERVICE, INC., to Plaintiffs;

       C.      That Plaintiffs are granted leave of Court to file supplemental proofs establishing

the judgment sum for contributions determined to be due and owing for the time period of January

1, 2015, through a future date to be determined by the payroll audit, as well as for the liquidated

dames, interest, audit costs, attorney’s fees and costs to which Plaintiffs are entitled to pursuant to

the trust agreements and ERISA;

       D.      That DURDEL & SONS LANDSCAPING & TREE SERVICE, INC., is ordered

to pay to the Plaintiffs their reasonable attorney’s fees and costs, as provided by ERISA (29 U.S.C.

Section 1132(g)(2));

       E.      That DURDEL & SONS LANDSCAPING & TREE SERVICE, INC., is required

to perform and continue to perform all its obligations to the Plaintiffs under the labor agreements

and trust agreements; including without limitation, continuing to furnish to the Plaintiffs the

required contribution reports with payment for contributions owed for subsequent months going

forward, or when applicable, a report for any reporting period stating that no contributions are

owed to Plaintiffs;
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        F.       That Defendant be decreed to pay all costs attendant to any audit of Defendant's

payroll books and records pursuant to the respective Agreements and Declarations of Trust of the

Plaintiffs;

        G.       That Plaintiffs be awarded, at Defendants’ costs, such further and other relief as

may be available under ERISA, the labor agreements, the trust agreements or as is otherwise just

and equitable.

                                                             Respectfully submitted,

                                                             CENTRAL LABORERS’ PENSION
                                                             FUND, et al.,
                                                             Plaintiffs,

                                                      By:    s/ Jacob A. Blickhan
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